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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MARYLAND
                                       at Greenbelt
                                In re:     Case No.: 20−19246 − TJC    Chapter: 13

Iesha K Brewster−Young
Debtor

                                             NOTICE OF DISMISSAL




TO: All Creditors and Interested Parties


You are hereby notified that an Order Dismissing the above case was entered on 10/15/20.

ALL PARTIES ARE HEREBY NOTIFIED, that the automatic stay imposed by 11 U.S.C. § 362(a) is terminated.

Dated: 10/15/20
                                                         Mark A. Neal, Clerk of Court
                                                         by Deputy Clerk, Erica Cumberland
                                                         410−962−4221



Form ntcdsm
